Case: 1:20-cv-02111 Document #: 87-2 Filed: 05/04/22 Page 1 of 4 PageID #:2002




              Exhibit B
  Case: 1:20-cv-02111 Document #: 87-2 Filed: 05/04/22 Page 2 of 4 PageID #:2003




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ELIZABETH GONZALEZ,                                 )
                                                     )
                                Plaintiff,           )
                                                     )
                v.                                   )   No. 20 C 2111
                                                     )
 CHARLOTTE A. BURROWS, Chair of the                  )   Judge Kennelly
 U.S. Equal Employment Opportunity                   )
 Commission, 1                                       )
                                                     )
                                Defendant.           )

                          DECLARATION OF PATRICK DEWOLF

       I, Patrick DeWolf, state as follows:

       1.      I have been employed by the EEOC since January 2008. I am currently the Program

Manager for the Information Intake Group (IIG). In late 2014 through 2015, my position was

Supervisor Program Analyst (manager of the IIG unit). My job included responsibility for the

overall performance and quality of the IIG program. As part of my job, I would review staffing

coverage, call and email volumes and IIR performance. Although the IIRs did not report to me

directly, my management team would share IIR performance metrics with site supervisors so they

could share and work with their staff efficiently.

       2.      The IIG is the Agency’s “front line” (i.e., first point of contact) for members of the

public who use the Agency’s toll-free number and e-mail address to contact the Agency with

general inquiries. The IIG receives approximately 500,000 to 600,000 phone calls and 25,000




   1
      Current EEOC Chair Charlotte Burrows is automatically substituted for former Chair Janet
Dhillon under Fed. R. Civ. P. 25(d).
  Case: 1:20-cv-02111 Document #: 87-2 Filed: 05/04/22 Page 3 of 4 PageID #:2004




emails annually. Using an extensive knowledge database, Intake Information Representatives

(IIRs) respond to these calls and e-mails.

       3.      IIRs are primarily responsible for obtaining information from individual callers to

determine if the harm claimed by the individual is within the Agency’s jurisdiction. If it is, the

IIR provides the caller with an Intake Questionnaire and instructions regarding how to submit the

form to the appropriate Agency field office for processing. If the alleged harm is not within the

Agency’s jurisdiction, the IIR tries to provide the caller with information regarding other possible

sources of assistance. The IIGs goal is to answer as many calls and emails and quickly as possible.

       4.      Attendance is critical for the IIG to perform well for the public. Due to our

increasing volumes, we rely on IIR staff to be on duty at their approved shift days/times.

Absenteeism greatly impacts this small group as we do not have a surplus of staff to use for

backfilling those employees who are absent. When a staff member is absent, it means that it is

that many more calls that the IIG will not be able to answer for that day. It also means longer wait

times for even those that are able to get through. For a member of the public who is unable to get

through to the EEOC, it could possibly mean a delay in obtaining critical information regarding

their situation or potential charge filing. Absenteeism has one of the largest impacts on the service

the IIG provides to the public. As with many private sector contact center companies, the EEOCs

IIG does not have the mass labor pool to quickly pull from to cover those employees with

attendance issues.

       5.      In October 2015 the Agency hired five IIRs---Ms. Christy Bailey, Mr. Nicholas

Boren, Ms. Nydia Washington, Ms. Susan Brewer and Ms. Tamara Turner---using the Schedule

“A” hiring authority. These five individuals were referred to us by the National Telecommuting

Institute (NTI). These individuals were hired with the understanding that they would be able to



                                                 2
   Case: 1:20-cv-02111 Document #: 87-2 Filed: 05/04/22 Page 4 of 4 PageID #:2005




telework from home 100% of the time as a reasonable accommodation. These five individuals

reported directly to me. Although their specific disability was not shared with me, it was my

understanding that they were related to severe mobility issues, thus the requirement to work 100%

from home. This was the first time we had used NTI for such recruiting which was a different

process than what we had used before through normal USAJOB posting.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the
United States of America and to the best of my knowledge, information, and belief that the
foregoing is true and correct.
                         Digitally signed by Patrick De
Patrick De Wolf Wolf
                Date: 2022.04.22 09:36:33 -05'00'
____________________________
Patrick DeWolf


Executed on: ________________




                                                          3
